         Case 1:21-cv-11515-NMG Document 14 Filed 11/12/21 Page 1 of 12




                      IN THE UNITED STATES DISTRICT COURT FOR
                           THE DISTRICT OF MASSACHUSETTS


AHMED EISSA,                                           Case No.: 1:21-cv-11515

        Plaintiff,
v.

LEDVANCE LLC, KARSTEN FETTEN, MARCI
PIPER and ALAN BARLOW,

        Defendants.


     DEFENDANTS’ REPLY TO PLAINTIFF’S MEMORANDUM IN OPPOSITION TO
                     DEFENDANTS’ MOTION TO DISMISS
                   (Leave to File Granted on November 4, 2021)

        Pursuant to the Court’s order [Docket No. 13] permitting them to file the reply below,

Defendants LEDVANCE LLC, Karsten Fetten, Marci Piper and Alan Barlow (“Defendants”)

hereby reply to the Plaintiff’s Memorandum in Opposition to Defendants’ Motion to Dismiss

(“Opposition”).

I.      The Legislative History Of The Massachusetts Parental Leave Act And Its
        Amendments Make Clear That The Statute Does Not Protect A Leave Of Absence
        Which Begins Two Months After The Birth Of The Child

The Massachusetts Parental Leave Act (the “MPLA”), as currently enacted and as applied to

Plaintiff’s 2019 leave of absence, provides in relevant part:

        b) An employee who has completed the initial probationary period set by the
        terms of employment, not to exceed 3 months, [or …], shall be entitled to 8 weeks
        of parental leave for the purpose of giving birth or for the placement of a child
        under the age of 18, […] for adoption with the employee who is adopting or
        intending to adopt the child; provided, however, that any 2 employees of the same
        employer shall only be entitled to 8 weeks of parental leave in aggregate for the
        birth or adoption of the same child. […].”

M.G.L. ch. 149, Sec. 105D (bold added). The statute, by its plain language, expressly applies

only when parental leave is sought “for the purpose of” giving birth or adopting a child. Mass.
         Case 1:21-cv-11515-NMG Document 14 Filed 11/12/21 Page 2 of 12




Community College Council v. Labor Relations Comm’n., 402 Mass. 352, 354 (1988) (“It is

elementary that the meaning of a statute must, in the first instance, be sought in the language in

which the act is framed, and if that is plain, . . . the sole function of the court is to enforce it

according to its terms.”). Thus, if an employee seeks leave in connection with the birth of a

child, leave is available at the time of the birth, but not “substantially earlier or later.”

MASSACHUSETTS COMMISSION AGAINST DISCRIMINATION: PARENTAL LEAVE (rev’d 2017) (the

“Guidance”). In the case of adoptive parents, leave is available at the time of the adoption.

        Plaintiff admits that his child was born on October 26, 2019 and that his leave of absence

began more than two months later, on December 30, 2019. Opposition, pp. 6, 14. Yet, Plaintiff

claims that his leave qualified for protection under the MPLA because he inquired about a

potential leave of absence three weeks after the birth of his child, claiming that his request was

“prompt, timely and well within the parameters of the MPLA.” Id. at 7. However, when

parental leave is sought is irrelevant to the issue of when leave must be taken in order to qualify

for protection under the statute.1 A contrary finding could lead to absurd results and allow, for

example, an employee to take parental leave three months after the birth of the child by

submitting a request for leave at the time of the birth. Plaintiff’s reading of the MPLA would

render the words “for the purpose of” meaningless, a result which courts disfavor. See Flemings

v. Contributory Retirement Appeal Bd., 431 Mass. 374, 375 (2000) (“In interpreting statutes,

‘[n]one of the words of a statute is to be regarded as superfluous, but each is to be given its

ordinary meaning without overemphasizing its effect upon the other terms appearing in the

statute’”)(citation omitted); Akebia Therapeutics, Inc. v. Azar, 976 F.3d 86, 94 (1st Cir. 2020).



1
 The MPLA requires an employee to provide at least 2 weeks' notice to the employer of the anticipated date of
departure. M.G.L. ch. 149, Sec. 105D(b). The notice requirement does not address when the leave must begin to
qualify for protection under the MPLA.


                                                      -2-
            Case 1:21-cv-11515-NMG Document 14 Filed 11/12/21 Page 3 of 12




        Although the statute is unambiguous, a brief review of the MPLA’s legislative history

bolsters the conclusion that leave must be taken at the time of the birth to fall within the law’s

ambit. See Hunters Brook Realty Corp. v. Zoning Bd. of Appeals of Bourne, 14 Mass. App. Ct.

76, 81 (1982) (legislative history may help decide disputes regarding the interpretation of a

statute).

        As originally enacted in 1972, the MPLA was captioned “An Act Requiring Employers

To Grant Maternity Leave to Certain Employees” and allowed eligible female employees to take

a leave of absence “for a period not exceeding eight weeks for the purpose of giving birth, said

period to be hereinafter called maternity leave.” 1972 Mass. Acts 770, attached hereto at

Exhibit A (italics added). As such, the statute provided for maternity leave to birthing mothers

only. The MPLA was amended in 1984 (“An Act Relative to Adopting Mothers”) to provide

similar maternity leave rights to female employees who adopt a child under the age of three. See

1984 Mass. Acts 900, attached hereto at Exhibit B. In 1989, the adoptive right was expanded to

cover the adoption of a child under the age of 18 (or under the age of 23, if the child is disabled).

See 1989 Mass. Acts 642-43, attached hereto at Exhibit C. Importantly, despite these

amendments, the law continued to apply only to female employees. The statute was significantly

amended in 2015, when Governor Patrick signed “An act relative to parental leave.” St. 2014, c.

484 (hereinafter, the “2015 Amendment”), attached hereto at Exhibit D. Among other things,

the 2015 Amendment converted Massachusetts’ maternity leave law into a parental leave,

thereby making the leave of absence available to both men and women. Importantly, the 2015

Amendment, which is the current version of the law and applies to Plaintiff’s leave, did not

modify the requirement that leave be taken “for the purpose of” giving birth or adopting a child.

Compare 2015 Amendment, at Exhibit D, with 1972 statute, at Exhibit A.




                                                -3-
         Case 1:21-cv-11515-NMG Document 14 Filed 11/12/21 Page 4 of 12




       Had the Massachusetts legislature intended to allow employees to take a leave of absence

starting substantially after the birth of the child, it could have provided so, but chose not to. For

example, the Massachusetts legislature could have modified the statute to bring it in line with the

federal Family and Medical Leave Act of 1993 (“FMLA”), which provides eligible employees

up to 12 weeks of unpaid parental leave during the 12-month period after the birth or adoption of

a child. See 29 U.S.C. § 2612(a)(2); 29 C.F.R. § 825.120(a)(2). Likewise, in 2018,

Massachusetts enacted a sweeping paid family and medical leave law (“PFML”). M.G.L. ch.

175M § 1 et seq. Like its federal counterpart, the PFML allows eligible employees to take up to

12 weeks of family leave during the first 12-month period after the birth, adoption, or placement

of a child. Id. at §2(a)(1). The legislature did not amend or abolish the MPLA after it passed the

PFML. To the contrary, although the two types of leave run concurrently where applicable, an

employee who has exhausted his PFML leave entitlement for the applicable benefit year may

still take another eight weeks of unpaid time off under the MPLA for the birth or adoption of a

child in the same year. 458 C.M.R. § 2.01(3); MCAD Guidance at page 7 (indicating that “an

employee may take a maternity leave each time she gives birth or adopts a child”).

       The history of the MPLA’s enactment and amendments evidences a clear legislative

intent to allow employees to take a leave of absence starting on or around the time of the birth.

The law, as originally enacted, provided only a right to maternity leave to birthing mothers; such

a leave necessarily begins on the birth of the child (or shortly before, to prepare for the birth).

Although the MPLA was amended several times, none of the amendments changed the

requirement that leave be taken “for the purpose of” giving birth or adopting a child. Therefore,

the MPLA entitles employees to take leave starting on or around the birth or adoption, but not

two months later. As such, Plaintiff’s leave fell outside the purview of the MPLA.




                                                 -4-
            Case 1:21-cv-11515-NMG Document 14 Filed 11/12/21 Page 5 of 12




II.        The Cases Cited By Plaintiff Do Not Support A Finding Of Individual Liability
           Under The Facts Alleged In The Complaint

           In the Opposition, Plaintiff states that an “aiding and abetting” claim against Defendant

Barlow can be sustained based on his alleged inaction in response to Defendants Piper’s and

Fetten’s alleged wrongful conduct. Specifically, the Complaint alleges that Barlow failed to:

              Deny anything about Mr. Eissa’s communications with Defendants Piper and Fetten;
               (Compl., ¶ 21)
              Take any remedial action concerning Defendants Piper or Fetten’s actions; (Id.)
              Inform Plaintiff that he was not required to work during his leave; (Id. at ¶ 22)
              That Defendants Piper’s and Fetten’s conduct was “not only inappropriate but
               unlawful”; (Id.)

To the contrary, Barlow’s response to Plaintiff’s email dated December 17, 20192 (referenced in

the Complaint and a copy of which is attached as Exhibit A to Defendants’ Partial Motion to

Dismiss) made clear that Plaintiff was legally entitled to take 12 weeks of parental leave and that

his employment would not be jeopardized by taking this leave. Plaintiff replied, thanking

Barlow for the clarification. Id. Barlow’s email cured any incorrect information that may have

been provided by Piper or Fetten. Plaintiff does not allege that he sought, and was denied, a

parental leave on a full-time basis after this email. As such, no further action by Barlow was

required.

           In the Opposition, Plaintiff cites a number of cases for the proposition that Barlow may

be held individually liable under an “aiding and abetting” theory because he failed to investigate

or “protect the Plaintiff from discrimination.” However, those cases are inapplicable, as they

involve allegations that a supervisor’s knowledge of and failure to remedy unlawful workplace

harassment caused plaintiff injury. For example, in Chapin, a university police officer brought

an aiding and abetting claim against the police chief, alleging that he “knew or should have

2
    Defendants dispute Plaintiff’s characterization of his December 17, 2019 email to Barlow.


                                                         -5-
        Case 1:21-cv-11515-NMG Document 14 Filed 11/12/21 Page 6 of 12




known” of the sexual harassment to which she was subjected but did nothing to stop it, and that

such inaction caused her injury. Chapin v. Univ. of Mass., 977 F. Supp. 72 (D. Mass. 1997).

The court found that these allegations were sufficient to withstand a motion to dismiss. In

reaching its ruling, the court relied on three MCAD decisions for the proposition that “the

[‘[f]ailure to investigate gives tacit support to the discrimination because the absence of

sanctions encourages abusive behavior.’” Id. at 78 (citing Jorge v. Silver City Dodge, 15 MDLR

1518, 1531 (MCAD 1993) and Przybycien v. Aid Maintenance Co., 13 MDLR 1266, 1283

(MCAD 1991)). The Chapin court also noted that “the MCAD has held a supervisor individually

liable for aiding and abetting discrimination for acquiescence in a retaliatory firing of an

employee who complained about sexual harassment.” Id. (citing Hope v. San Ran, Inc., 8 MDLR

1195, 1211 (MCAD 1986)).

       However, Chapin’s and Plaintiff’s reliance on Jorge and Przybycien is misguided, as

neither of these cases dealt with the issue of individual liability. Both decisions are attached

hereto at Exhibits E and F, respectively. Jorge, a female employee, complained that she was

subjected to lewd comments and unwanted touching by supervisors to a manager, who promised

to investigate her claims. The manager met with the alleged harassers, who denied the

allegations. Plaintiff was transferred to another position, while the harassers went unpunished.

She eventually quit. The Commission concluded that Silver City Dodge was liable for the

supervisors’ harassment, noting that “[a]n employer is liable for failing to eradicate hostile or

offensive work environment, and has an affirmative duty to investigate complaints of sexual

harassment and deal appropriately with the offending personnel.” Therefore, Jorge deals with an

employer’s failure to investigate as lending tacit support for unlawful harassment, not whether

the manager’s action or inaction supported a separate aiding and abetting claim against him.




                                                -6-
        Case 1:21-cv-11515-NMG Document 14 Filed 11/12/21 Page 7 of 12




       Likewise, Przybycien involved the repeated sexual harassment of a female employee by

her immediate supervisor. Przybycien reported the harassment to the alleged perpetrator’s

supervisor. Although the supervisor planned to meet with all parties and a witness, he only

interviewed the perpetrator, who denied the allegations. When the harassment continued, the

supervisor transferred Przybycien to another location. However, the harassment continued,

prompting Przybycien to resign. The Commission found these facts sufficient to establish

liability against the employer based on the creation of a hostile work environment. In doing so,

the MCAD noted that “”[e]mployers have an affirmative duty to eradicate hostile or offensive

work environments and including an affirmative duty to investigate complaints of sexual

harassment and to deal appropriately with the offending personnel.” Id. at 18. Thus, Przybycien

did not interpret the aiding and abetting provision of M.G.L. ch. 151B.

       Hope v. San-Ran, Inc. is the only MCAD decision cited in Chapin which involves an

finding of individual liability for aiding and abetting. However, the case is distinguishable on its

facts. The plaintiff in Hope brought a complaint of sexual harassment by her supervisor to San

Ran’s general manager. After the general manager confronted the supervisor about Hope’s

complaints, the supervisor began monitoring her performance and noting any incident that could

be used to fire her. A year later, the supervisor fired Hope, for trivial reasons. When she

reached out to the general manager to complain, he asked for time to look into the situation, but

he never followed up with Hope as promised. Those facts were deemed sufficient to find both

the supervisor and the general manager individually liable for aiding and abetting San Ran’s

unlawful conduct. Specifically, the hearing officer found that each individual had engaged in

separate, illegal acts in that they “respectively sought and acquiesced in the termination of

Constance Hope when she refused to put up with and complained about sexual harassment.”




                                                -7-
        Case 1:21-cv-11515-NMG Document 14 Filed 11/12/21 Page 8 of 12




Therefore, the aiding and abetting liability did not rest on mere inaction. Plaintiff’s reliance on

Semmami v. UG2 LLC, No. 18-cv-12396-DJC, 2019 WL 2249705 (D. Mass. May. 24, 2019) is

also misplaced, as the language cited in the Opposition relates to an employer’s liability for

failing to investigate and stop a supervisor’s harassment.

       The cases cited in the Opposition are distinguishable from the case at bar, in that they

involve claims of harassment, which continued unabated after the plaintiff complained of the

inappropriate conduct to a supervisor and caused plaintiff harm. Conversely, when Plaintiff

reached out to Defendant Barlow with concerns about his parental leave rights, Barlow promptly

clarified those rights, consistent with the law. The Complaint does not allege any other wrongful

conduct related to Plaintiff’s request for a parental leave after Barlow’s response or any injury

arising out of Barlow’s alleged inaction. Therefore, Barlow’s email redressed any potential

wrongful conduct by Piper and Fetten, and the aiding and abetting claim against him fails.

       Lastly, contrary to Plaintiff’s assertion, the Complaint is devoid of any allegations

evidencing any joint activity by Barlow, Piper and Fetten or the requisite intent and knowledge

of the unlawful enterprise to render themselves individually liable. See Beaupre v. Cliff Smith &

Assocs., 50 Mass. App. Ct. 480, 492 (2000). Thus, it cannot be said that these individuals

“actively and intentionally provide[d] substantial, supporting assistance to intentional conduct

that is prohibited by chapter 151.” Compare with Fisher v. Town of Orange, 885 F. Supp. 2d

468, 476-77 (D. Mass. 2012) (complaint alleging misconduct consisting of pranks, rumor-

spreading and verbal harassment). Therefore, the “aiding and abetting” claim against all three

individual Defendants must be dismissed.

III.    The Continuing Violation Doctrine Does Not Rescue Plaintiff’s Untimely Claims

       Plaintiff alleges that Counts I through IV, based on conduct occurring before January 5,

2020, are not time-barred because such conduct falls within the continuing violation doctrine.

                                                -8-
        Case 1:21-cv-11515-NMG Document 14 Filed 11/12/21 Page 9 of 12




However, the overwhelming weight of the federal and state legal authority makes clear that the

continuing violation doctrine is unavailable to rescue Plaintiff’s untimely claims.

       The continuing violation doctrine allows a plaintiff to recover for discriminatory acts that

occurred outside the 300-day statute of limitations, when the alleged wrongful conduct is

ongoing in nature and at least one related event occurred within the limitations period. See Nat’l

R.R. Passenger Corp. v. Morgan, 536 U.S. 101 (2002) abrogated on other grounds, Lily

Ledbetter Fair Pay Act of 2009, Pub. L. No. 111-2, 123 Stat. 5; Crocker v. Townsend Oil Co.,

Inc., 464 Mass. 1, 10-11 (2012); Cuddyer v. Stop & Shop Supermarket Co., 434 Mass. 521, 533

(2001); 804 Mass. Code Regs. § 1.10(2). The doctrine is grounded on an acknowledgement

that, where no single unlawful event occurs on any particularly identifiable day, a plaintiff may

not be on notice that his or her rights have been violated, and such plaintiff should be able to

recover from the cumulative effect of defendant’s unlawful conduct. For this reason, the

doctrine has typically been applied to hostile work environment claims, which, by their very

nature, involve repeated conduct occurring over time, as long as the untimely discriminatory

conduct is substantially related to at least one unlawful event occurring within the limitations

period. See Morgan, 536 U.S. at 103 (hostile work environment based on racial harassment);

Cuddyer, 434 Mass. at 532-34 (applying doctrine to claim alleging sexual harassment, noting

that “[a] plaintiff who claims a hostile work environment, as the plaintiff does here, will often

have to establish a continuing violation to recover for otherwise time-barred violations”) (citing

O’Rourke v. Providence, 235 F.3d 713, 727 (1st Cir.2001)).

       On the other hand, where, as here, the gravamen of a plaintiff’s claim is based on a

discrete event, the plaintiff is placed on notice that he or she may have a potential claim. See

Ocean Spray Cranberries, Inc. v. Mass. Comm’n Against Discrimination, 808 N.E.2d 257, 266-




                                                -9-
        Case 1:21-cv-11515-NMG Document 14 Filed 11/12/21 Page 10 of 12




67 (Mass. 2004)(to recover under the continuing violation doctrine for untimely acts, a plaintiff

generally must show that “earlier violations outside the [] limitations period did not trigger [the

plaintiff’] ‘awareness and duty’ to assert his rights, i.e., that [the plaintiff] could not have formed

a reasonable belief at the time the employee actions occurred that they were discriminatory”). In

such a case, plaintiff’s failure to assert his or her rights in a timely manner will generally be fatal.

Thus, Massachusetts federal and state courts alike have held that the continuing violation

doctrine is unavailable to rescue untimely claims based on a discriminatory failure to promote,

refusal to hire or transfer, or termination decision, even if the effects of such decision are

ongoing or the events are related to other timely-filed acts. Morgan, 536 U.S. at 114 (“Discrete

acts such as termination, failure to promote, denial of transfer, or refusal to hire are easy to

identify.”); Miller v. N.H. Dep't of Corr., 296 F.3d 18, 22 (1st Cir. 2002) (citing Morgan);

Everett v. 357 Corp., 453 Mass. 585, 606-07 (2009) (discrete acts are outside the continuing

violations doctrine under Massachusetts law). Courts have also held that an employer’s denial of

an employee’s request for an accommodation is a discrete act, as to which the continuing

violation doctrine is inapplicable. As such, the clock on such a claim starts running from the

date of the denial. Tobin v. Liberty Mut. Ins. Co., 553 F.3d 121 (1st Cir. 2009); Williams v. City

of Brockton, 59 F. Supp. 3d 228 (D. Mass. 2014); Ocean Spray Cranberries, 441 Mass. at 645.

        Similarly, Plaintiff’s claims under the MPLA and under M.G.L. ch. 151B and Title VII,

based on allegations that he sought and was denied a parental leave of absence in November and

December 2019, including the individual Defendants’ alleged statements related thereto, pertain

to discrete acts with easily identifiable dates. When Defendants made the alleged statements,

and Plaintiff’s request for 12 weeks of uninterrupted leave was denied, he had sufficient facts to

ascertain whether or not his rights were being violated. In fact, according to the Complaint,




                                                 - 10 -
         Case 1:21-cv-11515-NMG Document 14 Filed 11/12/21 Page 11 of 12




Defendants Piper’s and Fetten’s alleged statements did raise such concerns, prompting Plaintiff

to reach out to Defendant Barlow in December 2019. These allegations confirm that Plaintiff’s

awareness and duty to assert his rights were triggered before January 5, 2020. Therefore, the

continuing violation doctrine is inapplicable to resurrect Plaintiff’s claims predicated upon

Defendants’ failure to grant him a parental leave of absence or on the alleged conduct any of the

individual Defendants related thereto3, all of which are time-barred. See Ocean Spray

Cranberries, Inc., 441 Mass. at 644–45; see also Morrison v. Northern Essex Commun. Coll.,

780 N.E.2d 132, 140–41 (Mass. App. Ct. 2002) (statute of limitations on discrete acts of sexual

harassment began to run from the date of each act).



WHEREFORE, the Defendants request that the Court enter an order (1) granting Defendants’

partial motion to dismiss and (2) granting such other and further relief as is equitable and just.



                                                    Respectfully submitted,
                                                    LEDVANCE LLC, KARSTEN FETTEN,
                                                    MARCI PIPER and ALAN BARLOW,
                                                    By their Attorney,

                                                    /s/ Stephanie Smith
                                                    Stephanie Smith (BBO #660572)
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3
 As previously noted, the Complaint is entirely devoid of any other alleged conduct by Defendants Piper and
Barlow after December 2019, whether related to Plaintiff’s leave or otherwise.


                                                      - 11 -
          Case 1:21-cv-11515-NMG Document 14 Filed 11/12/21 Page 12 of 12




                                  CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper and electronic copies will be sent to those indicated as non-registered participants on
November 12, 2021.

                                              /s/ Stephanie Smith




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                                               - 12 -
